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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 9:20-cv-81063-RS

  STEVE HARTEL, Individually and On
  Behalf of All Others Similarly Situated,

         Plaintiff,

  v.

  THE GEO GROUP, INC., et al.,

        Defendants.
  _____________________________________/

                    DEFENDANTS’ RESPONSE IN OPPOSITION TO
              PLAINTIFF’S MOTION FOR AN ENLARGEMENT OF TIME TO
                  RESPOND TO DEFENDANTS’ MOTION TO DISMISS
                     PLAINTIFF’S CLASS ACTION COMPLAINT

         Defendants The GEO Group, Inc. (“GEO Group” or the “Company”), George C. Zoley

  and Brian R. Evans (collectively, “Defendants”) respond in opposition to Plaintiff’s Motion for an

  Enlargement of Time to Respond to Defendants’ Motion to Dismiss Plaintiff’s Class Action

  Complaint [ECF No. 13] (“Plaintiff’s Motion”).

                                          INTRODUCTION

         Plaintiff wants this Court to treat the filing of his Complaint [ECF No. 1] (“Complaint”) as

  a nullity, even though there is nothing in the Federal Rules of Civil Procedure, or under the federal

  securities laws, that suggests a court should simply ignore the filing of a complaint as though it

  never happened. Plaintiff asserts that, despite the fact that no motions for lead plaintiff have yet

  been filed, the Court should await the appointment of lead plaintiff –– and the potential filing of

  an amended complaint –– prior to ruling on Defendants’ Motion to Dismiss Plaintiff’s Class

  Action Complaint [ECF No. 6] (“Motion to Dismiss”). However, every complaint must comply
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  with the Rules and must state a claim. Defendants have every right to test the sufficiency of this

  Complaint –– the only live pleading filed against them.

         Plaintiff argues that because this case is governed by the Private Securities Litigation

  Reform Act of 1995 (the “PSLRA”), that this Court should not rule on the potentially dispositive

  Motion to Dismiss prior to the appointment of a lead plaintiff. Yet such a concept is not found

  anywhere in the PSLRA. Not only is such a rule not required by the PSLRA, it defies the PSLRA’s

  policy goal of quickly dispensing with costly and unfounded securities lawsuits.

         Even further, Plaintiff’s position is contrary to the federal pleading standards because it

  would allow plaintiffs to file mere “placeholder” complaints which, according to Plaintiff, will

  never have to be defended. Such a policy would only encourage the filing of poor pleadings in a

  race to the courthouse, as is evidenced by the Complaint here.

         In their Motion to Dismiss [ECF No. 6], Defendants outlined at least six compelling

  reasons why Plaintiff’s Complaint [ECF No. 1] (“Complaint”) should be dismissed. These include

  that (1) Plaintiff’s claims are based on non-actionable, forward-looking cautionary statements

  protected by a statutory safe harbor; (2) the Complaint fails to specifically identify actionable

  statements that were alleged to be misleading; (3) the statements quoted in the Complaint are

  accurate and are not actionable; (4) the Company’s public disclosures are fatal to the claims; (5) the

  Complaint fails to allege facts necessary to plead the required strong inference of scienter; and

  (6) the Complaint fails to sufficiently plead loss causation. See Motion to Dismiss [ECF No. 6].

  Plaintiff does not rebut any of the substantive issues on the merits raised in the Motion to Dismiss.

  Plaintiff has not amended or moved to amend the current Complaint in accordance with Rule 15,

  Federal Rules of Civil Procedure.




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         While Plaintiff argues that responding to the Motion to Dismiss would “threaten to disrupt

  the orderly and efficient litigation process that Congress intended when it enacted the PSLRA,”

  Plaintiff’s Motion at 5, he is wrong. As set forth in more detail below, the PSLRA was enacted to

  deter, or quickly dispose of, meritless or baseless claims at the outset of litigation. Should the

  Court dismiss Plaintiff’s Complaint, the lead plaintiff process would be mooted.

         Plaintiff’s request for a lengthy extension of time (beyond a more reasonable and limited

  extension) to respond to the pending Motion to Dismiss is not well-founded. Plaintiff provides no

  rationale as to why he is unable to respond to the Motion to Dismiss (or amend) within a reasonable

  extension that was proposed. Indeed, Defendants were able to respond to the Complaint and file

  their joint Motion to Dismiss without seeking additional time. Plaintiff’s request for extra time is

  unquestionably unnecessary if, as Plaintiff seems to indicate, he intends to move for an order

  requesting that he be appointed as lead plaintiff in this pending action. And even if he was

  appointed lead plaintiff, Plaintiff does not commit to filing an amended complaint. There is no

  reason to delay review of the sufficiency of the filed Complaint.

         As explained below, the Motion to Dismiss is procedurally proper and ripe for ruling by

  the Court. The PSLRA sanctions no stay of the Motion to Dismiss (as Plaintiff himself has

  acknowledged in correspondence with Defendants). In accordance with the intent of the PSLRA

  –– to quickly dispose of suits like the instant case –– the Court should deem the properly-filed

  Motion to Dismiss as pending, require Plaintiff to respond, and rule accordingly.

                                            ARGUMENT

  I.     DEFENDANTS’ FILING OF THE MOTION TO DISMISS WAS PROPER.

         Contrary to Plaintiff’s assertion, the filing of a motion to dismiss in response to a complaint

  governed by the PSLRA is a perfectly legitimate vehicle for any defendant to employ. Plaintiff




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  has cited no authority that supports Plaintiff’s request to purportedly “harmonize” the PSLRA’s

  lead plaintiff procedure with a motion to dismiss. Nothing in the PSLRA requires the Court to

  first address the appointment of lead plaintiff and lead counsel. Indeed, the PSLRA actually

  encourages the filing of a motion to dismiss and provides that a court must address such a motion

  when filed. See 15 U.S.C. § 78u-4(b)(3).

         The PSLRA is Congress’ “effort to deter or at least quickly dispose of those suits whose

  nuisance value outweighs their merits . . . .” Merrill Lynch, Pierce, Fenner & Smith Inc. v. Dabit,

  547 U.S. 71, 82 (2006) (emphasis added). “An important component of achieving this goal was

  structuring the legislation to permit the dismissal of frivolous cases at the earliest feasible stage

  of the litigation, thereby reducing the cost to the company, and by derivation, to its shareholders,

  in defending a baseless action.” Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1278 (11th Cir.

  1999) (emphasis added). To that end, the PSLRA explicitly imposes a stay of discovery “during

  the pendency of any motion to dismiss” and mandates that the Court dismiss a complaint that is

  deficient. 15 U.S.C. § 78u-4(b)(3).

                 (3) Motion to dismiss; stay of discovery

                         (A) Dismissal for failure to meet pleading requirements
                         In any private action arising under this chapter, the court shall,
                         on the motion of any defendant, dismiss the complaint if the
                         requirements of paragraphs (1) and (2) are not met.

                         (B) Stay of discovery
                         In any private action arising under this chapter, all discovery and
                         other proceedings shall be stayed during the pendency of any
                         motion to dismiss, unless the court finds upon the motion of any
                         party that particularized discovery is necessary to preserve
                         evidence or to prevent undue prejudice to that party.

  15 U.S.C. § 78u-4(b)(3) (bold emphasis in original; underlined emphasis added). The statute says

  nothing about waiting for the lead plaintiff process to be completed before so ruling. Thus,

  Defendants timely filing a motion to dismiss does not impede the orderly and efficient conduct of


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  this action (as Plaintiff argues).

          Here, this Court must dismiss Plaintiff’s Complaint, as outlined in the Motion to Dismiss,

  because the pleading requirements –– particularized allegations (1) of misleading statements and

  omissions, (2) giving rise to a strong inference of scienter –– have not been met. 15 U.S.C. § 78u-

  4(b)(1) and (2); see also Motion to Dismiss [ECF No. 6], pp. 9-16. Each deficiency provides an

  independent reason requiring dismissal under the PSLRA. 15 U.S.C. § 78u-4(b)(3) (“the court

  shall, on the motion of any defendant, dismiss the complaint if the requirements of paragraphs

  (1) and (2) are not met”) (emphasis added). The Motion to Dismiss also seeks dismissal for non-

  PSLRA related reasons, such as the failure to plead fraud with specificity as required under Federal

  Rule of Procedure 9(b). There is no need to await the appointment of lead plaintiff to address the

  merits of the Motion to Dismiss.

          Further, Plaintiff served Defendants with a Summons filed in this action, which states:

                  Within 21 days after service of this summons on you . . . you must serve
                  on the plaintiff an answer to the attached complaint or a motion under
                  Rule 12 of the Federal Rules of Civil Procedure. The answer or motion
                  must be served on the plaintiff or plaintiff’s attorney . . . If you fail to
                  respond, judgment by default will be entered against you for the relief
                  demanded in the complaint. You also must file your answer or motion
                  with the court.

  [ECF No. 1]. The Summons certainly did not instruct Defendants to refrain from filing a motion

  to dismiss. Apparently, under Plaintiff’s misguided theory, Defendants were expected to simply

  default in response to his Complaint.

          Plaintiff states that this Court should essentially stay a ruling on the Motion to Dismiss

  because Congress’s intent for passing the PSLRA was to ensure that persons with significant

  shareholdings would exercise control over the litigation. Plaintiff’s Motion at 4-6. That over-

  simplistic characterization sorely misses the mark. Courts have characterized Congress’s “intent”




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  in passing the PSLRA far differently and more broadly –– in a way that supports the view that the

  filing of motions to dismiss is an appropriate response to any complaint. As the First Circuit has

  noted:

                 Congress fashioned the PSLRA as a means of combating unfounded
                 strike suits against issuers of securities. Consistent with this
                 congressional intent, the PSLRA imposed “heightened pleading
                 requirements in actions brought pursuant to § 10(b) and Rule 10b-5”
                 and contained a gallimaufry of provisions targeting abusive securities-
                 fraud litigation.

  Hidalgo-Velez v. San Juan Asset Mgt., Inc., 758 F.3d 98, 104 (1st Cir. 2014) (citation omitted)

  (emphasis added); see also In re Galileo Corp. Shareholders Litig., 127 F. Supp. 2d 251, 260 (D.

  Mass. 2001) (“Congress enacted the PSLRA, which amended the Securities Act of 1933 and the

  Exchange Act, in a bipartisan effort to curb abuse in private securities litigation, especially the

  filing of so-called strike suits. In particular, Congress sought to reform private securities litigation

  to discourage unmeritorious class actions, including actions brought because of a decline in stock

  prices.” (citation omitted)). In short, Congress’s focus was not limited to the procedures for

  appointing lead counsel, but rather the primary focus included weeding out unmeritorious

  securities fraud lawsuits. If Plaintiff is urging this Court to focus on Congress’s legislative

  motivation as a whole, then this Court should proceed with ruling on the pending Motion to

  Dismiss.

           B.    A STAY OF THE MOTION TO DISMISS IS NOT WARRANTED.

                 1.      Courts Often Dismiss Complaints Prior to the Appointment of Lead
                         Plaintiff.

           The PSLRA explicitly imposes a stay of discovery and other proceedings “during the

  pendency of any motion to dismiss;” it does not impose, implicitly or explicitly, a stay of this

  Court’s adjudication of the motion to dismiss pending appointment of a lead plaintiff. See




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  generally, 15 U.S.C. § 78u-4. Plaintiff instead focuses on the PSLRA provision governing the

  appointment of a lead plaintiff in Section (a)(3), and argues that the provision essentially requires

  that the Motion to Dismiss cannot go forward at least until a lead plaintiff is appointed, because

  only the lead plaintiff can act on behalf of a class. See Plaintiff’s Motion at 4-6. But Plaintiff

  jumps ahead of himself. There is no class to represent at this time.

         Indeed, numerous courts have rejected the argument that an appointment of lead plaintiff

  must occur first. See Grobler v. Neovasc, Inc., Case No. 1:16-cv-11038 (D. Mass. July 26, 2016)

  at [ECF No. 22] (“There is nothing in the PSLRA requiring a district judge to stay a motion to

  dismiss so that a plaintiff can assign lead counsel and file a Consolidated Complaint.”) (attached

  as Exhibit A); see, e.g., Brooks v. Wachovia Bank, N.A., No. Civ. A. 06-00955, 2007 WL 2702949,

  at *1 (E.D. Pa. Sept. 14, 2007) (granting motion to dismiss securities class action and denying as

  moot motion for appointment of lead plaintiff); Hartman v. Pathmark Stores, Inc., No. Civ. A. 05-

  403-JJF, 2006 WL 571852, at *1 (D. Del. Mar. 8, 2006) (same); Walker v. Shield Acquisition

  Corp., 145 F. Supp. 2d 1360, 1361 (N.D. Ga. 2001) (same); Recupito v. Prudential Secs., Inc., 112

  F. Supp. 2d 449, 451 (D. Md. 2000) (same); Berkowitz v. Conrail, Inc., No. Civ. A. 97–1214, 1997

  WL 611606, at *1 n.1 (E.D. Pa. Sept. 25, 1997) (in Section 10(b) case under PSLRA, “[b]ecause

  Defendant’s motion to dismiss will be granted, Plaintiff’s pending motions to be appointed lead

  plaintiff, for appointment of lead and co-lead counsel, and for class certification will be denied as

  moot”).

         As explained above, Plaintiff’s proposed deferral of the motion to dismiss directly conflicts

  with the PSLRA’s stated goal of dismissing frivolous cases at the “earliest feasible stage of the

  litigation.” Bryant, 187 F.3d at 1278. This Court should likewise not delay ruling on the Motion

  to Dismiss, but rather require full briefing so that it can address the merits at this time.




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                 2.      Plaintiff’s Position is Inconsistent with Federal Pleading Standards.

         Plaintiff’s position also makes no logical sense. In effect, Plaintiff argues that a plaintiff

  can file a facially deficient complaint (like here), as a mere “placeholder” and nullity to be ignored

  until a court-appointed lead plaintiff files an amended complaint –– even where the lead plaintiff

  appointed was the party who filed the initial complaint to begin with.

         That position of course ignores Federal Rule of Civil Procedure 11’s requirements.

  Pursuant to Rule 11, when a party files a pleading, it is certifying that, inter alia, “the claims,

  defenses, and other legal contentions are warranted by existing law or by a nonfrivolous argument

  for extending, modifying, or reversing existing law or for establishing new law” and that “the

  factual contentions have evidentiary support or, if specifically so identified, will likely have

  evidentiary support after a reasonable opportunity for further investigation or discovery.” Rule 11

  is not designed to permit plaintiffs to file “placeholder” complaints which a defendant is not

  permitted to challenge. See In re Engle Cases, 767 F.3d 1082, 1113 (11th Cir. 2014) (noting that

  the filing of “placeholder actions” “would run counter” to Rule 11); Kennedy v. Paniccia-

  Indialantic, LLC, 616CV2208ORL31DCI, 2017 WL 5178182, at *4 (M.D. Fla. Nov. 8, 2017)

  (criticizing the practice of filing insufficient ADA complaints which are “nothing more than a

  placeholder,” followed by an amended pleading with more detail). Plaintiff should not be allowed

  to skirt around his own deficient filing.

         Under Plaintiff’s view, this Court should never rule on a motion to dismiss the original

  complaint in a securities class action prior to the appointment of lead plaintiff. This directly

  conflicts with the PSLRA’s mandate requiring dismissal for failure to meet its pleading standards,

  and conflicts with the PSLRA’s goal of assessing the pleading requirements at the “earliest feasible

  stage of the litigation.” Bryant, 187 F.3d at 1278. Thus, no stay should be imposed here.

         Finally, any proposed amendment of Plaintiff’s Complaint is governed by Federal Rule of


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  Civil Procedure 15. As the First Circuit has held, the PSLRA does not modify Federal Rule of

  Civil Procedure 15. In re Genzyme Corp. Secs. Litig., 754 F.3d 31, 47 (1st Cir. 2014); ACA Fin.

  Guar. Corp. v. Advest, Inc., 512 F.3d 46, 56 (1st Cir. 2008). Under Rule 15, Plaintiff here has ––

  or had –– several options. He could have amended within 21 days after serving his Complaint.

  Fed. R. Civ. P. 15(a)(1)(A). That time has passed. He can still amend within 21 days after the

  service of a motion under Rule 12(b), Federal Rule of Civil Procedure 15(a)(1)(B), and has until

  September 2, 2020 to do so. Otherwise, “a party may amend its pleading only with the opposing

  party’s written consent or the court’s leave.” Fed. R. Civ. P. 15(a)(2). Thus, there is no absolute

  “entitlement” to amend. As it stands now, the only pleading before this Court is Plaintiff’s

  Complaint.

         Contrary to Plaintiff’s suggestion, Plaintiff does not get a “free pass” or a “mulligan” with

  respect to his Complaint. Any complaint is subject to dismissal under the PSLRA. See 15 U.S.C.

  § 78u-4(b)(3)(A); Teachers’ Retirement Sys. of La. v. Hunter, 477 F.3d 162, 172 (4th Cir. 2007)

  (“The PSLRA also directs that any complaint not meeting the pleading requirements be

  dismissed.”).

         C.       DEFENDANTS WOULD BE PREJUDICED BY ANY DELAY IN RULING
                  ON THE MOTION TO DISMISS.

         The pendency of this action and the defamatory allegations in the Complaint are prejudicial

  to the Defendants, both in terms of the damage to their reputation and in terms of the costs of

  defending this litigation.   Defendants have responded to the Complaint, pursuant to the

  requirements of Rule 12, Federal Rules of Civil Procedure, explaining in detail why the Complaint

  must be dismissed. Delaying resolution of that motion pending this Court’s determination of

  which potential lead plaintiff should be charged with pursuing the allegations in the Complaint




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  will prolong this case, increasing the reputation damages and litigation costs.1

         Courts have long recognized that these types of allegations of fraud can be damaging, and

  in fact, that is one reason such allegations are required to meet a heightened pleading requirement,

  even outside of securities litigation. Semegen v. Weidner, 780 F.2d 727, 731 (9th Cir. 1985)

  (explaining that courts have long recognized that damage to individual reputation can be caused

  by unfounded accusations of fraud); In re Comshare, Inc. Sec. Litig., No. 96-73711-DT, 1997 WL

  1091468, at *5 (E.D. Mich. Sept. 18, 1997) (quoting H.R. Conf. Rep. No. 104-369, at 41 (1995),

  reprinted in 1995 U.S.C.C.A.N. at 740) (“Unwarranted fraud claims can lead to serious injury to

  reputation for which our legal system effectively offers no redress.”).

                                           CONCLUSION

         There is nothing under the PSLRA (and Section 78u-4, in particular) that precludes this

  Court from entertaining a motion to dismiss directed to the operative Complaint. For the foregoing

  reasons, and the reasons set forth in the Motion to Dismiss, the Court should proceed with ruling

  on the Motion to Dismiss and dismiss the Complaint in its entirety, and awarding Defendants such

  other and further relief as the Court deems just and proper.




  1
    And, as noted above, if this Court were to dismiss the Complaint with prejudice, the lead plaintiff
  process would be mooted.


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  Dated: August 25, 2020
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